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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                    Case No. 1:22-cv-24066-KMM
   GRACE, INC., et al.,
            Plaintiﬀs,
   v.
   CITY OF MIAMI,
            Defendant.
                                                   /

          PLAINTIFFS’ UNOPPOSED MOTION FOR WITHDRAWAL OF COUNSEL

           Pursuant to Local Rule 11.1(d)(3)(A), Plaintiﬀs move to withdraw attorney Jocelyn Kirsch

  from this case as counsel for Plaintiﬀs. As grounds therefore, Plaintiﬀs state:

        1. Ms. Kirsch left her employment with Dechert LLP.

        2. On June 6, 2023, counsel for Plaintiﬀs provided notice to Plaintiﬀs of Ms. Kirsch’s intent

           to withdraw from representation.

        3. Plaintiﬀs consent to Ms. Kirsch’s withdrawal from representation.

        4. On June 27, 2023, Plaintiﬀs notiﬁed counsel for Defendant of Ms. Kirsch’s intent to

           withdraw from representation.

        5. Defendant does not oppose Ms. Kirsch’s withdrawal from representation.

        6. Xe remaining co-counsel of record will continue to represent Plaintiﬀs in this case.

           WHEREFORE, Plaintiﬀs respectfully request that this Court grant Jocelyn Kirsch leave to

  withdraw.


                                 CERTIFICATE OF CONFERRAL

           Counsel for Plaintiﬀs conferred with counsel for Defendant, who does not oppose this

  motion.



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  Respectfully submitted this 28th day of June, 2023.


   /s/ Nicholas L.V. Warren

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